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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

ANTHONY MEYER                                )
                                             )
                      Petitioner,            )      No. 15-10165
                                             )
       v.                                    )
                                             )
MERRILL LYNCH, PIERCE,                       )
FENNER, AND SMITH, INC., and                 )
FINRA,                                       )
                                             )
                      Respondents.           )


                   PETITION TO CONFIRM ARBITRATION AWARD

       NOW COMES Petitioner Anthony Meyer by and through his attorney and pursuant to 9

U.S.C. § 9, moves to confirm an arbitration award, and states as follows:

       1.      Petitioner filed an arbitration against Respondent before the Financial Industry

Regulatory Authority (“FINRA”) on July 11, 2014, FINRA Arb No. 14-02212 (the

“Arbitration”) seeking expungement of false and defamatory statements made by Respondent on

registration records maintained by the Central Registration Depository (“CRD”).

       2.      A recorded Hearing was had on February 27, 2015 so the parties could present

evidence on Claimant’s request for expungement. Respondent did not contest the request for

expungement.

       3.      Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1331, and 9 U.S.C

§ 9.

       4.      On April 16, 2015, an award (a copy of which is attached as Exhibit “A” hereto)

was entered by FINRA is the arbitration.
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       5.      A copy of this petition to confirm has been served via email and regular mail on

the counsel of record for Respondents Merrill Lynch who appeared on its behalf at the

arbitration. Pursuant to Rule 2080 FINA has been named as a party and served via its registered

agent for service, Corporate Creations.

       WHEREFOR, the Petitioner prays that this Court enter a judgment consistent with the

arbitration award attached hereto as Exhibit A.

                                                   Respectfully submitted,
                                                   ANTHONY MEYER, Petitioner


                                                   By:_/s/ Schuyler D. Geller_
                                                          One of his Attorneys


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